
66 So.3d 389 (2011)
Angello DERIUS, Petitioner,
v.
STATE of Florida, Respondent.
No. 5D11-1847.
District Court of Appeal of Florida, Fifth District.
July 29, 2011.
*390 Angello Derius, Malone, pro se.
Pamela J. Bondi, Attorney General, Tallahassee and Wesley Heidt, Assistant Attorney General, Daytona Beach, for Respondent.
PER CURIAM.
The petition for belated appeal is granted. A copy of this opinion shall be filed with the trial court and be treated as the notice of appeal from the judgment and sentence in case number 2009-CF-013640-A, in the Circuit Court in and for Orange County, Florida. See Fla. R.App. P. 9.141(c)(5)(D).
PETITION GRANTED.
ORFINGER, C.J., GRIFFIN and EVANDER, JJ., concur.
